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                                                                     16
                                                                     17                              UNITED STATES DISTRICT COURT
                                                                     18               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                     19
                                                                     20 R.A., a minor, by and through his            CASE NO. 2:19-cv-1488
                                                                        Guardian, Steve Altes, on behalf of
                                                                     21 himself and all others similarly situated,   CLASS ACTION
                                                                     22                     Plaintiff,               COMPLAINT
                                                                     23               vs.                            JURY TRIAL DEMANDED
                                                                     24 Epic Games, Inc.,
                                                                     25                     Defendant.
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                                                                      1        Plaintiff R.A., by and through his Guardian, Steve Altes (“Plaintiff”), brings
                                                                      2 this action individually and on behalf of a Class of all those similarly situated for
                                                                      3 damages and injunctive relief against Defendant Epic Games, Inc. (“Defendant” or
                                                                      4 “Epic”), and alleges the following based on the investigation of counsel and based
                                                                      5 on information and belief.
                                                                      6                                    INTRODUCTION
                                                                      7        1.      Rising to the forefront in a multi-billion-dollar video game industry,
                                                                      8 Epic has perfected a predatory scheme whereby it exploits players, including
                                                                      9 minors, by inducing them to purchase in-game loot boxes in the pursuit of the best
                                                                     10 in-game item schematics, heroes, and survivors (collectively, “loot”).
                                                                     11        2.      As part of its scheme, Epic offers Fortnite Save the World at a lower
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                                                                     12 price point than competitor video games to entice players to start playing its game,
                                                                     13 with the goal of luring those players to make in-game microtransactions that
                                                                     14 generate significant revenue for Epic.
                                                                     15        3.      Because Fortnite Save the World’s game progression is inextricably
                                                                     16 linked to loot progression, players are pushed to keep seeking better loot to progress
                                                                     17 in the game.
                                                                     18        4.      Accordingly, Epic designed Fortnite Save the World to effectively limit
                                                                     19 a player’s ability to progress within the game without spending money on loot
                                                                     20 boxes.
                                                                     21        5.      The scheme plays out perfectly to the benefit of Epic: once players are
                                                                     22 sufficiently invested in the game, Epic induces players to purchase loot boxes in
                                                                     23 order to get better loot, which results in massive revenue to Epic.
                                                                     24        6.      Epic has made a fortune on in-game purchases, preying in large part on
                                                                     25 minors who are especially susceptible to such predatory tactics.
                                                                     26        7.      However, many of these in-game purchases are marketed through
                                                                     27 material misrepresentations and omissions which lure minors and other players into
                                                                     28 making repeated purchases, without receiving the promised loot.
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                                                                      1        8.     Specifically, in Fortnite Save the World, Defendant entices minors and
                                                                      2 others into purchasing “loot boxes,” known as “Llamas,” using unfair and deceptive
                                                                      3 marketing. Llamas are purchased with V-Bucks1. Purchasing a Llama is like
                                                                      4 playing a slot machine. Llamas contain “randomized” loot for use in the Fortnite
                                                                      5 game. Players, and particularly minors, are lured into purchasing Llamas with the
                                                                      6 reasonable expectation that a purchase will result in better loot. Players are
                                                                      7 encouraged to keep purchasing Llamas with the reasonable belief that repeated
                                                                      8 purchase will lead to the chance of receiving better loot and therefore improvement
                                                                      9 in performance of the game. Through both express misrepresentations and
                                                                     10 omissions, Epic markets Llamas as highly likely to contain valuable loot that will
                                                                     11 increase a player’s power and prowess in the Fortnite game. But in reality, Llamas
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                                                                     12 do not contain the loot expected by the reasonable consumer.
                                                                     13        9.     Only Epic knows the odds of receiving any given loot in a Llama, and
                                                                     14 it exploits this informational advantage mercilessly to lure minors and other
                                                                     15 purchasers into making purchases they otherwise would not make.
                                                                     16        10.    Epic systematically advertises Llamas with promises that they will
                                                                     17 contain appealing and valuable loot. Like with a slot machine, Epic psychologically
                                                                     18 manipulates its young players into thinking they will “get lucky.” But what Epic
                                                                     19 knows—and what its young players do not know—is that the Llamas almost never
                                                                     20 contain what they are touted as containing.
                                                                     21 The reasonable consumer purchasing Llamas believes that he or she will have
                                                                     22 significantly better chances of receiving valuable loot than they actually do.
                                                                     23        11.    Worse yet, Epic fails to disclose that the odds of receiving the valuable
                                                                     24 loot are next to nothing.
                                                                     25
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                                                                     26   As alleged herein, rather than using dollars, Epic created a proprietary currency
                                                                        within the Fortnite universe called V-Bucks. Players purchase V-Bucks with real
                                                                     27 money.
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                                                                      1               12.   Plaintiff, like hundreds of thousands of consumers, fell for Epic’s
                                                                      2 deceptive sales practices and purchased Epic’s Llamas hoping for rare and powerful
                                                                      3 loot. Plaintiff did not receive that desired loot and never had a realistic chance of
                                                                      4 doing so.
                                                                      5               13.   Epic’s prominent display of the most valuable (and exceedingly rare)
                                                                      6 loot in every Llama, coupled with its failure to disclose the odds of winning the
                                                                      7 most valuable loot, constitute deceptive and misleading representations that deceive
                                                                      8 consumers into purchasing Llamas based on their reasonable reliance on Epic’s
                                                                      9 representations.
                                                                     10               14.   Had Plaintiff known the odds of receiving the desired loot in Llamas
                                                                     11 were virtually nil, he would not have purchased them.
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                                                                     12               15.   Plaintiff and the Class members have been injured by Epic’s practices.
                                                                     13 Plaintiff brings this action on behalf of himself and the putative Class. Plaintiff
                                                                     14 seeks actual damages, punitive damages, restitution, and an injunction to prevent
                                                                     15 Epic from continuing to engage in the illegal practices described herein.
                                                                     16                                  JURISDICTION AND VENUE
                                                                     17               16.   This Court has original jurisdiction of this action under the Class
                                                                     18 Action Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this
                                                                     19 Court has original jurisdiction because the aggregate claims of the putative class
                                                                     20 members exceed $5 million, exclusive of interest and costs, and at least one of the
                                                                     21 members of the proposed classes is a citizen of a different state than Defendant.
                                                                     22               17.   Venue is proper in this district pursuant to 28 U.S.C. § 1391 because
                                                                     23 Defendant is subject to personal jurisdiction here and regularly conducts business in
                                                                     24 this District, and because the events giving rise to Plaintiff’s claims occurred in this
                                                                     25 District.
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                                                                      1                                       PARTIES
                                                                      2        18.    Guardian Steve Altes is a citizen and resident of Valencia, California.
                                                                      3 He resides with his son, Plaintiff R.A. Plaintiff R.A. was at all relevant times a
                                                                      4 Fortnite player and a minor.
                                                                      5        19.    Plaintiff R.A. plays Fortnite Save the World.
                                                                      6        20.    Plaintiff R.A. used his own money and his parents’ money to purchase
                                                                      7 Upgrade Llamas and Daily Llamas in Fortnite Save the World.
                                                                      8        21.    Plaintiff R.A. believed that he had a meaningful chance of receiving the
                                                                      9 loot represented by Epic as being in the loot boxes.
                                                                     10        22.    Had Plaintiff R.A. known the extremely low chances he had to receive
                                                                     11 the loot he wanted, he would not have purchased the Llamas.
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                                                                     12        23.    Since discovering Epic’s material misrepresentation and omissions,
                                                                     13 Plaintiff R.A. has ceased to purchase any further Llamas from Epic. However, if
                                                                     14 Epic changed its practices so as to comply with the law, Plaintiff R.A. would
                                                                     15 consider purchasing Llamas in the future.
                                                                     16        24.    Defendant Epic Games Inc. is a video game company based in North
                                                                     17 Carolina. Defendant released Fortnite Save the World and Fortnite Battle Royale in
                                                                     18 2017. Both game “modes” are part of the same Fortnite game, and both are
                                                                     19 immensely popular. As of January 2019, there are an estimated 200 million Fortnite
                                                                     20 players worldwide. Epic made an estimated $2.4 billion dollars on Fortnite in 2018.
                                                                     21                             FACTUAL ALLEGATIONS
                                                                     22 A.     Fortnite: An Overview
                                                                     23        25.    Fortnite is an open-world survival video game in which players collect
                                                                     24 weapons, tools, and resources, also commonly referred as loot, in order to survive
                                                                     25 and advance in the game.2 Fortnite currently includes two game modes: Save the
                                                                     26
                                                                     27   2
                                                                          Sarah LeBoeuf, What is ‘Fortnite’?: A look at the video game that has become a
                                                                     28 (footnote continued)
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                                                                      1 World and Battle Royale. This Complaint only concerns Fortnite Save the World.
                                                                      2               26.   Fortnite is a global phenomenon. Since its release to early access in
                                                                      3 2017, Fortnite has taken the gaming world by storm. Its explosion of popularity has
                                                                      4 even expanded beyond the game itself making its way into professional athletes’
                                                                      5 celebrations in leagues around the world.3 Its popularity has even infiltrated
                                                                      6 schools, leaving parents and teachers concerned with its effect on education.4
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                                                                     18               27.   Coined as “Fortnite Fever,” some researchers suggest that the
                                                                     19 excitement and obsession generated around Fortnite can exasperate a child’s
                                                                     20
                                                                          phenomenon, nbcnews.com (June 30, 2018, 8:27 AM),
                                                                     21
                                                                          https://www.nbcnews.com/tech/tech-news/what-fortnite-look-video-game-has-
                                                                     22   become-phenomenon-n887706.
                                                                          3
                                                                            James Dator, ‘Fortnite’ celebrations are sweeping the sports world, sbnation.com
                                                                     23
                                                                          (Mar. 12, 2018, 3:25 PM),
                                                                     24   https://www.sbnation.com/lookit/2018/3/11/17106330/fortnite-sports-celebrations-
                                                                          bundesliga-nrl-nba-nfl.
                                                                     25   4
                                                                            Michael Koczwara, Fortnite Continues to Be a Problem For Children in School,
                                                                     26   ign.com (July 6, 2018, 10:44 AM),
                                                                     27   https://www.ign.com/articles/2018/07/06/fortnite-continues-to-be-a-problem-for-
                                                                          children-in-school.
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                                                                      1 inability to regulate or control themselves.5 UNC Healthcare pediatrician Dr.
                                                                      2 Jeffrey Ryan states that “[k]ids younger than 12 cannot regulate themselves because
                                                                      3 they don’t have the frontal lobe capacity to do so.”6 According to Dr. Ryan, this can
                                                                      4 cause addictive tendencies where a child cannot set limits or stop certain behaviors.7
                                                                      5 Dr. Ryan states “[i]t’s similar to the same feeling you get when you gamble or eat a
                                                                      6 candy bar, so that’s where there could be the potential for addiction.”8 One
                                                                      7 behavioral specialist even compared Fortnite to heroin, stating “[o]nce you are
                                                                      8 hooked, it’s hard to get unhooked.”9
                                                                      9               1.    Save the World
                                                                     10               28.   Save the World is a cooperative game mode where up to four players
                                                                     11 can work together to fight computer-controlled enemies called husks.10 Players do
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                                                                     12 this in defense-orientated missions where they protect a location from waves of
                                                                     13 enemy husks or venture out on search missions to find survivors and supplies.11
                                                                     14               29.   In defense-oriented missions, players build fortifications and scout for
                                                                     15 materials to craft traps, weapons, and other items to protect their base.12 Players can
                                                                     16 also unlock different “heroes” (i.e. the main playable character in the game, each
                                                                     17
                                                                     18   5
                                                                            Jeffrey Ryan, MD, Does Your Child Have Fortnite Fever, UNC Health Talk (Sept.
                                                                     19   12, 2018), https://healthtalk.unchealthcare.org/does-your-child-have-fortnite-fever/.
                                                                          6
                                                                     20     Ibid.
                                                                          7
                                                                            Ibid.
                                                                     21   8
                                                                            Ibid.
                                                                          9
                                                                     22     Jef Feely and Christopher Palmeri, Fortnite Addiction is Forcing Kids Into Video-
                                                                          Game Rehab, bloomberg.com (November 27, 2018, 9:21 AM),
                                                                     23   https://www.bloomberg.com/news/articles/2018-11-27/fortnite-addiction-prompts-
                                                                     24   parents-to-turn-to-video-game-rehab.
                                                                          10
                                                                             Andrew Melcon, Fortnite: Save the World – Everything You Need to Know,
                                                                     25   tomsguide.com (Apr. 23, 2018), https://www.tomsguide.com/us/fortnite-save-the-
                                                                     26   world-price-release-date,news-27044.html.
                                                                          11
                                                                     27        Ibid.
                                                                          12
                                                                               Ibid.
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                                                                      1 subclass of which has access to a unique set of abilities that gives them a unique
                                                                      2 style of play) and “survivors” (i.e. a set of characters that can be assigned different
                                                                      3 roles to buff player stats).13 In search missions, players explore the world searching
                                                                      4 for loot and completing specific missions while defending themselves from enemy
                                                                      5 husks.
                                                                      6          30.   Fortnite Save the World is currently available on PC, XBox One, and
                                                                      7 PlayStation 4.
                                                                      8          31.   Regardless of system, a player’s experience, and Epic’s conduct and
                                                                      9 representations, in Fortnite Save the World are the same.
                                                                     10          2.    Battle Royale
                                                                     11          32.   Battle Royale is a player-versus-player survival game where up to one
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                                                                     12 hundred players drop into a virtual world, gather materials, weapons, and other
                                                                     13 items, and fight to be the last player standing. Both Battle Royale and Save the
                                                                     14 World offer in-game purchases for sale. However, only Fortnite Save the World
                                                                     15 offers loot box Llamas for sale. This Complaint only concerns Fortnite Save the
                                                                     16 World.
                                                                     17 B.       The Rise of Loot Boxes
                                                                     18          33.   The videogame market has exploded in popularity with a market value
                                                                     19 of $78.61 billion in 2017, and an expected market value of $90 billion by 2020.14
                                                                     20          34.   The new trend in gaming is to break away from the traditional pay-for-
                                                                     21 game model, wherein a consumer pays a one-time fee for a game and all of its
                                                                     22 features, by instead offering the underlying game for free or for a discounted price
                                                                     23
                                                                          13
                                                                     24    Josh Hawkins, Fortnite – How to Get New Heroes, primagames.com (July 25,
                                                                        2017, 11:40 PM), https://www.primagames.com/games/fortnite/tips/fortnite-how-
                                                                     25
                                                                        get-new-heroes.
                                                                     26 14 2019 Video Game Industry Statistics, Trends & Data, wepc.com (May 2018),
                                                                     27 https://www.wepc.com/news/video-game-statistics/#video-gaming-industry-
                                                                        overview.
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                                                                      1 to lure consumers to engage in in-game microtransactions, which generate
                                                                      2 significant revenue. Known as the “paywall,” players are “encouraged to spend
                                                                      3 money [on microtransactions] to make unimpeded progress in the game.”15
                                                                      4               35.   In 2017, it is estimated consumers—a huge proportion of which are
                                                                      5 minors—spent $30 billion on video game microtransactions. That number is
                                                                      6 expected to grow to $50 billion by 2022.16
                                                                      7               36.   One primary method to drive revenue through microtransactions is
                                                                      8 through the use of “loot boxes.”
                                                                      9               37.   Loot boxes are “an in-game reward system that can be purchased
                                                                     10 repeatedly with real money to obtain a random selection of virtual items.”17
                                                                     11               38.   Loot boxes can contain everything from purely cosmetic items—known
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                                                                     12 as “skins,” which offer no competitive advantages—to a variety of items such as
                                                                     13 “power ups” that can dramatically alter a player’s chance of progressing in the
                                                                     14 game.
                                                                     15               39.   Resembling a slot machine, loot boxes require no player skill and have
                                                                     16 randomly determined outcomes and, in this instance, undisclosed, abysmal odds.
                                                                     17               40.   Accordingly, players, especially minors, are driven to open an
                                                                     18 indeterminable amount of loot boxes in search of their desired items.
                                                                     19               41.   Unfortunately for consumers, loot boxes are plagued with deception,
                                                                     20 misrepresentations, and exploitation.
                                                                     21               42.   This deception is largely caused by the informational discrepancy
                                                                     22
                                                                          15
                                                                             Society for the Study of Addiction, Predatory Monetization Schemes in Video
                                                                     23
                                                                          Games (e.g. Loot Boxes) and Internet Gaming Disorder (2018) available at
                                                                     24   https://onlinelibrary.wiley.com/doi/epdf/10.1111/add.14286 (last visited Feb. 27,
                                                                          2019).
                                                                     25   16
                                                                             Loot Boxes & Skins Gambling to Generate a $50 Billion Industry By 2022,
                                                                     26   https://www.juniperresearch.com/press/press-releases/loot-boxes-and-skins-
                                                                     27   gambling (last visited Feb. 27, 2019).
                                                                          17
                                                                             Society for the Study of Addiction, supra at n. 15.
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                                                                      1 between the game developers and the players. Players, many of whom are minors,
                                                                      2 do not know that the loot boxes will not necessarily contain the items they tout, nor
                                                                      3 do they know the odds of actually receiving the desired items in loot boxes—but the
                                                                      4 game developers do.
                                                                      5        43.     For this reason, Apple now requires game developers to disclose the
                                                                      6 odds of receiving the items in loot boxes for all games sold in its App Store.
                                                                      7        44.     In an effort to promote transparency and protect consumers, in
                                                                      8 December 2017, Apple added guidelines to its App Store making the disclosure of
                                                                      9 loot box odds mandatory. Under Apple’s new rule, “Apps offering ‘loot boxes’ or
                                                                     10 other mechanisms that provide randomized virtual items for purchase must disclose
                                                                     11 the odds of receiving each type of item to customers prior to purchase.”
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                                                                     12        45.     Despite Apple’s admonition, many game developers fail to disclose the
                                                                     13 odds of receiving the items in their loot boxes and loot boxes continue to generate
                                                                     14 controversy.
                                                                     15        46.     Hawaii State Legislator Chris Lee recently wrote on Reddit, “lootboxes
                                                                     16 and microtransactions are explicitly designed to prey upon and exploit human
                                                                     17 psychology in the same way casino games are so designed. This is especially true
                                                                     18 for young adults who child psychologists and other experts explain are particularly
                                                                     19 vulnerable. These exploitive mechanisms and the deceptive marketing promoting
                                                                     20 them have no place in games being marketed to minors, and perhaps no place in
                                                                     21 games at all.”18
                                                                     22        47.     The unfairness of loot boxes is also garnering international attention.
                                                                     23 Several countries, including the Netherlands, Belgium, and Australia, consider loot
                                                                     24
                                                                     25   18
                                                                           Ben Kuchera, Apple adds new rules for loot boxes, requires disclosure of
                                                                     26 probabilities, polygon.com (Dec. 21, 2017, 9:44 AM),
                                                                     27 https://www.polygon.com/2017/12/21/16805392/loot-box-odds-rules-apple-app-
                                                                        store.
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                                                                      1 boxes to be illegal gambling, based on the fact that consumers pay real currency for
                                                                      2 potential loot that is not guaranteed—and indeed, that is very rare.
                                                                      3        48.        The Belgian Gaming Commission recently published a report on loot
                                                                      4 boxes in gaming:
                                                                      5        The investigation clearly shows that the purchase of loot boxes by
                                                                      6        players in the examined video games is highly problematic, both in
                                                                      7        terms of the purchase as well as the terms of the techniques used to
                                                                      8        allow players to bet using loot boxes…The disguised character of
                                                                      9        games of chance is extra problematic in the case of children. If there is
                                                                     10        no adequate intervention, then games of chance in video games will
                                                                     11        increasingly cause harm to players, families and society.
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                                                                     12        [. . . ]
                                                                     13        It is clear that the game manufacturers and platforms use many
                                                                     14        techniques for luring and encouraging players to play online and
                                                                     15        purchase loot boxes in an unrestricted manner. These techniques vary
                                                                     16        from social behavior monitoring, to lack of a data protection policy
                                                                     17        with possibly large-scale manipulation of the player through behavior-
                                                                     18        related random number generators (RNG).19
                                                                     19        49.        Moreover, many other countries have recently issued regulations or
                                                                     20 penalized game developers to address the issue of loot box deception.
                                                                     21        50.        In December 2016, China issued regulations requiring games with
                                                                     22 randomized elements to disclose the odds that consumers will win the touted loot
                                                                     23 box contents (“loot box odds”). When game developers began complying with the
                                                                     24
                                                                     25   19
                                                                           Belgian Gaming Commission, Research Report on Loot Boxes (April 2018)
                                                                     26 available at
                                                                     27 https://www.gamingcommission.be/opencms/export/sites/default/jhksweb_nl/docum
                                                                        ents/onderzoeksrapport-loot-boxen-Engels-publicatie.pdf.
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                                                                      1 law, Chinese consumers learned that in some games, the odds of receiving the
                                                                      2 touted item in a loot box were often as low as 0.1%.
                                                                      3               51.   Likewise, the Korean Fair Trade Commission (“FTC”), the equivalent
                                                                      4 of the U.S. Federal Trade Commission, recently fined three of its developers the
                                                                      5 highest-ever penalty on Korean game developers for failing to disclose to consumers
                                                                      6 the odds of winning the prizes in their loot boxes. The Korean FTC argued it was
                                                                      7 fundamentally unfair that loot boxes were represented to be “random,” when in fact
                                                                      8 players had, in some instances, as low as 0.5% chance of receiving some of the
                                                                      9 valuable loot in the box.
                                                                     10               52.   As discussed herein, Epic luridly advertises the valuable contents of
                                                                     11 Fortnite Llamas with prominent and attention-catching representations, leading
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                                                                     12 reasonable minors and other players to understand they could receive the touted
                                                                     13 items. But their chances of doing so are vanishingly small, and for that reason Epic
                                                                     14 intentionally fails to disclose the odds of actually winning the touted items in its
                                                                     15 Fortnite Llamas.
                                                                     16 C.            The Psychology and Manipulation of Loot Boxes
                                                                     17               53.   The explosive rise in microtransactions and loot boxes has subjected
                                                                     18 players, which includes a considerable number of minors, to predatory monetization
                                                                     19 schemes designed to hook players and keep them in the dark.
                                                                     20 To do this, videogame developers design their games to exploit the disparity of
                                                                     21 information between the player and game creator. This exploitation is furthered by
                                                                     22 leveraging the knowledge of a player’s game related preferences, available funds,
                                                                     23 playing and spending habits, etc., to tailor offers to that player to maximize the
                                                                     24 likelihood of a purchase.20
                                                                     25 / / /
                                                                     26
                                                                     27   20
                                                                               Society for the Study of Addiction, supra at n.15.
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                                                                      1               54.   Many of these predatory schemes conceal “the true long-term cost of
                                                                      2 the activity until players are already financially and psychologically committed.”21
                                                                      3 Players are then subjected to unavoidable solicitations and systems that “manipulate
                                                                      4 reward outcomes to reinforce purchasing behaviors.”22
                                                                      5               55.   Once entrapped, players often spend escalating amount of money
                                                                      6 believing they have invested too much to quit or that previously spent money will
                                                                      7 increase the likelihood of obtaining the player’s desired items. In this way, players
                                                                      8 experience the “sunk cost” effect by which they may justify further purchases.
                                                                      9               56.   Players’ willingness to pay more and buy more loot boxes is further
                                                                     10 intensified by the fact the loot boxes are purchased with virtual currency. When
                                                                     11 players, and especially minors, spend virtual currently, it is as if they are spending
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                                                                     12 Monopoly money. The difference being, of course, that video game virtual currency
                                                                     13 is often purchased with actual cash.
                                                                     14               57.   Lastly, loot boxes create the “slot machine effect” wherein even when a
                                                                     15 player isn’t receiving the desired items, his or her belief that the next loot box might
                                                                     16 contain a valuable item is reinforced when viewing favorable results from other
                                                                     17 players opening loot boxes.
                                                                     18               58.   These predatory practices are extremely affective on adults and are
                                                                     19 only intensified when used on minors who “are less equipped to critically appraise
                                                                     20 the value proposition of these schemes.”23
                                                                     21 D.            “Loot” in Fortnite Save the World: The Importance of Schematics,
                                                                                      Heroes, and Survivors
                                                                     22
                                                                     23               59.   To progress in Fortnite Save the World, players are induced to obtain
                                                                     24 better “schematics,” “heroes,” and survivors.” Each of these categories of items
                                                                     25
                                                                          21
                                                                     26    Ibid.
                                                                          22
                                                                     27 23 Ibid.
                                                                           Ibid.
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                                                                      1 collectively constitutes “loot” in Fortnite Save the World, and players are
                                                                      2 encouraged to obtain more and better loot in order to advance in the game.
                                                                      3               60.   “Schematics” are a type of guide that allow players to create traps,
                                                                      4 weapons, or other items valuable to game play.
                                                                      5               61.   “Heroes” are a special group of characters with perks that players
                                                                      6 assume the role of.24 Every hero is rated according to its level of rarity and is given
                                                                      7 a statistical rating on various metrics. A rarer hero with higher statistics will allow a
                                                                      8 player to more easily excel in the game.
                                                                      9               62.   “Survivors” are characters that players select to boost their F.O.R.T.
                                                                     10 stats, which consist of a player’s Fortitude, Offense, Resistance, and Tech.25 The
                                                                     11 level of these stats determines the power levels of player’s hero as well as the
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                                                                     12 effectiveness of a player’s abilities, traps, and gadgets.26
                                                                     13               63.   Importantly, schematics, heroes, and survivors have different rarity
                                                                     14 levels, which generally correspond to the level of benefits provided to the player.27
                                                                     15               64.   Rarer loot is generally better and more valuable, but also more difficult
                                                                     16 to obtain.
                                                                     17               65.   Unlocking new and rarer loot is a critical part of Fortnite Save the
                                                                     18 World.28 In order to complete later missions and quests and to defeat higher level
                                                                     19 enemies, players must obtain more loot to increase their power level. Put simply,
                                                                     20 better loot means further advancement in the game.
                                                                     21 / / /
                                                                     22
                                                                     23   24
                                                                             http://fortnite.wikia.com/wiki/Hero (last visited Feb. 27, 2019).
                                                                          25
                                                                     24      Fortitude affects a player’s health and health regeneration, Offense affects a
                                                                          player’s weapon damage, Resistance affects a players’ shields and shields
                                                                     25   regeneration, and Tech a player’s traps, abilities, gadgets, and healing.
                                                                          26
                                                                     26      https://fortnite.gamepedia.com/F.O.R.T._Stats (last visited Feb. 27, 2019).
                                                                          27
                                                                             https://fortnite.gamepedia.com/Rarity (last visited Feb. 27, 2019).
                                                                     27   28
                                                                             Ibid.
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                                                                      1          1.    V-Bucks
                                                                      2          66.   To obtain better loot, players open Llamas, which can occasionally be
                                                                      3 earned through gameplay, but are more likely purchased with in-game currency
                                                                      4 known as “V-Bucks.”
                                                                      5          67.   V-Bucks can be purchased or earned by playing Fortnite Save the
                                                                      6 World.
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                                                                     16
                                                                     17          68.   Players can earn V-Bucks in-game or purchase them for money.
                                                                     18 However, earning V-Bucks in the game is a difficult and inconsistent process due to
                                                                     19 the amount of playtime required and the randomness at which V-Bucks are offered
                                                                     20 as rewards. By making V-Bucks inordinately difficult and time consuming to earn,
                                                                     21 Epic creates a “paywall,” thus inducing players to purchase V-bucks instead of
                                                                     22 earning them.
                                                                     23          69.   One hundred V-Bucks generally costs around $1.00. However, a
                                                                     24 player can obtain V-Bucks at a discount by purchasing a higher quantity. For
                                                                     25 example, for a price of $99.99, a player can purchase 13,500 V-Bucks, a $135.00
                                                                     26 value.
                                                                     27          70.   While 13,500 V-Bucks might seem like a lot, players quickly burn
                                                                     28 through V-Bucks on Llamas, which cost upwards of 1,500 V-Bucks per Llama.
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                                                                      1               71.   The V-Bucks system allows Epic to play several tricks on its players,
                                                                      2 especially its minor players. First, because players have converted their money to
                                                                      3 V-Bucks, it is difficult for players to conceptualize how much actual money they
                                                                      4 have spent on purchases. This is especially effective on minors who may not have a
                                                                      5 firm understanding or conceptualization of the relation of money spent to V-Bucks
                                                                      6 spent.
                                                                      7               72.   This lack of understanding is especially apparent given many young
                                                                      8 players’ willingness to spend hundreds or even thousands of dollars on V-Bucks, in
                                                                      9 a game that itself only costs $39.99 to buy. If a player was confronted with the
                                                                     10 amount of money he or she would need to spend at the time of purchase, as opposed
                                                                     11 to when the player has purchased the game and is invested in playing, most players
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                                                                     12 would think that hundreds of dollars, let alone thousands of dollars, is an exorbitant
                                                                     13 price to pay to play a video game.
                                                                     14               73.   Second, by only allowing V-Bucks to be purchased in currency packs,
                                                                     15 and setting the price of items at odd amounts, Epic is playing the “10 hotdogs, 8
                                                                     16 buns” trick. The amount of V-Bucks in a currency pack almost never corresponds
                                                                     17 evenly to the price of items. Using this system, Epic perpetuates a cycle of
                                                                     18 constantly needing V-Bucks, and never having enough, which leads players to
                                                                     19 purchase more. This cycle is further perpetuated by Epic offering “limited time”
                                                                     20 Llamas or “limited time sales” on certain Llama prices.
                                                                     21               74.   Third, because Epic does not provide players a history of their
                                                                     22 purchases in-game or otherwise, it is very easy for players to spend an exorbitant
                                                                     23 amount of V-Bucks without knowing exactly when and what amount of V-Bucks
                                                                     24 were spent at any given time. If Epic provided a purchasing history, players could
                                                                     25 more easily discern how valueless Llamas are. The lack of any such history keeps
                                                                     26 the player in the dark regarding their purchases and perpetuates further Llama
                                                                     27 purchases.
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                                                                      1               75.   Finally, Epic’s induces players into making more purchases by making
                                                                      2 the purchase process incredibly easy. Once a player enters and saves a payment
                                                                      3 method, that player can purchase more V-Bucks at a whim almost instantly. In
                                                                      4 practice, that means minors can use their parents’ credit cards to make an endless
                                                                      5 number of purchases, with or without permission. The ease of purchase combined
                                                                      6 with the constant cycle of needing V-Bucks for the latest and greatest items results
                                                                      7 in more purchases.
                                                                      8 E.            Loot Boxes in Fortnite Save the World: Llamas
                                                                      9               76.   The central way in which Fortnite players attempt to unlock new and
                                                                     10 valuable loot is by opening Llamas. Llamas contain “randomized” loot for use in
                                                                     11 the Fortnite game.
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                                                                     12               77.   Players can collect limited amounts of Llamas through playing the
                                                                     13 game, but may also purchase Llamas with V-Bucks.
                                                                     14               78.   Fortnite provides a litany of different Llama options for purchase.29
                                                                     15 Llamas come in different tiers: “regular,” “silver,” or “gold” which allegedly
                                                                     16 correspond to the “rarity” of the potential loot contained inside.
                                                                     17               79.   Regardless of tier, Epic intentionally obscures the infinitesimal odds of
                                                                     18 winning sought-after rare loot in its Llamas, luring players into making more and
                                                                     19 more purchases on the off-chance that the next Llama will contain the rare item they
                                                                     20 are seeking. Epic knew that by doing this it would induce minors and other players
                                                                     21 to purchase Llamas.
                                                                     22               1.    Purchasing and Opening Llamas
                                                                     23               80.   To purchase a Llama, players select which Llama they want and hit the
                                                                     24 purchase button. Moving a cursor over a specific Llama will bring up a thought
                                                                     25 bubble showing loot as well as a description of the Llama.
                                                                     26
                                                                     27   29
                                                                               https://fortnite.gamepedia.com/Llama_Pinatas (last visited Feb. 27, 2019).
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                                                                      1               81.   Players understand these “thought bubbles” to be an indication of what
                                                                      2 is actually likely to be contained inside. But the reality is that players are extremely
                                                                      3 unlikely to receive the specific higher tier loot shown.
                                                                      4               82.   The odds of receiving specific items, or specific categories of items, are
                                                                      5 never displayed.
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                                                                     15               83.   The player is then brought to the Llama opening screen where the
                                                                     16 player uses a stick to open the Llama, like a pinata.
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                                                                      1               84.   If the Llama is of the “regular” tier, it will break open upon the first
                                                                      2 strike. However, if the Llama is “silver” tier it will make a metal clunking sound
                                                                      3 revealing the silver Llama.
                                                                      4
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                                                                     12
                                                                     13               85.   The player can then strike the Llama again. If the player is lucky, the
                                                                     14 Llama will make another clunking sound revealing a gold Llama. Otherwise, the
                                                                     15 Llama will break upon revealing any potential loot.
                                                                     16
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                                                                     25               86.   The player is then presented with loot of varying rarity.
                                                                     26               87.   As discussed below, through its misrepresentations and omissions, Epic
                                                                     27 overstates the odds of receiving higher tier (rarer) loot in its Llamas. If players
                                                                     28
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                                                                      1 knew the actual odds of receiving the items they desired, they would not purchase
                                                                      2 the Llamas.
                                                                      3               2.    Upgrade Llamas
                                                                      4               88.   “Upgrade Llamas” are the only Llamas available for purchase at all
                                                                      5 times and are incredibly deceptive to players.
                                                                      6               89.   Upgrade Llamas are enticing to players because of the random chance
                                                                      7 that the Llama may upgrade to silver or gold tier, and thus provide high-tier rare
                                                                      8 loot, at a relatively discounted price compared to other types of Llamas available for
                                                                      9 purchase in the game.
                                                                     10               90.   Epic describes the Upgrade Llama as “[t]he old faithful llama, packed
                                                                     11 with a variety of goodies and upgrade materials. Contains at least 4 items, including
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                                                                     12 a rare item or a hero! Has a high chance to upgrade. Hitting the upgrade
                                                                     13 symbol will upgrade it.” (emphasis added).30
                                                                     14
                                                                     15
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                                                                     18
                                                                     19
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                                                                     21
                                                                     22
                                                                     23
                                                                     24               91.   These representations—along with the name “Upgrade Llama”—are
                                                                     25 false.
                                                                     26
                                                                     27   30
                                                                               Ibid.
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                                                                      1         92.   First, Epic represents that the Llama has a “high chance to upgrade.”
                                                                      2 This potential to upgrade to silver or gold level tier, and thus rarer schematics,
                                                                      3 heroes, and survivors, is a crucial—but false—representation. Epic has never
                                                                      4 disclosed the odds of an upgrade llama upgrading, which is actually very unlikely
                                                                      5 and certainly not “high.”31
                                                                      6         93.   Second, the name “Upgrade Llama” is itself deceptive because, far
                                                                      7 more times than not, the Upgrade Llama will not “upgrade.”
                                                                      8         94.   Third, the thought bubble next to the Upgrade Llamas is deceptive.
                                                                      9 The thought bubble often displays a rare, sought-after item, leading reasonable
                                                                     10 consumers to believe if they purchase the Upgrade Llama, they will obtain the item.
                                                                     11 In reality, the odds of the consumer receiving the item in the thought bubble are next
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                                                                     12 to nothing.
                                                                     13         95.   Finally, Epic fails to disclose the odds of an Upgrade Llama
                                                                     14 “upgrading” and fails to disclose the odds of receiving higher tier loot in Upgrade
                                                                     15 Llamas. Upgrade Llamas do not in fact contain high tier loot with regularity. In
                                                                     16 fact, a player’s odds of obtaining high tier loot is low. This material omission is
                                                                     17 itself actionable.
                                                                     18         3.    Daily Llamas
                                                                     19         96.   “Daily Llamas” offer targeted high-tier loot at a premium price, but,
                                                                     20 similar to “Upgrade Llamas,” fail to disclose the odds of receiving the highest tier
                                                                     21 loot.
                                                                     22         97.   Daily Llamas rotate daily and can cost anywhere from approximately
                                                                     23 120 V-Bucks to 1500 V-Bucks depending on the type. At the higher end, players
                                                                     24 can spend upwards of $15 dollars per Daily Llama.
                                                                     25
                                                                     26   31
                                                                           Merriam Webster’s Dictionary defines “high” as “of greater degree, amount, cost,
                                                                     27 value, or content than average, usual, or expected.”
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                                                                      1               98.   Daily Llamas come in different varieties including Llamas that target
                                                                      2 specific types of items or specific classes of heroes.
                                                                      3               99.   One of the ways Epic induces players to purchase Llamas is by limiting
                                                                      4 the availability of Daily Llamas. Specifically, Epic often offers a Daily Llama for a
                                                                      5 limited twenty-four-hour period. This sense of artificial scarcity induces players to
                                                                      6 purchase Daily Llamas in the hopes their Llama will contain the touted prize.
                                                                      7               100. While Daily Llamas vary in their precise representations, they all
                                                                      8 uniformly contain the same two misrepresentations and omissions.
                                                                      9               101. First, the thought bubble next to the Upgrade Llama is deceptive. The
                                                                     10 thought bubble often displays a rare, sought-after item, leading reasonable
                                                                     11 consumers to believe if they purchase the Daily Llama, they will obtain the item. In
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                                                                     12 reality, the odds of the consumer receiving the item in the thought bubble are next to
                                                                     13 nothing.
                                                                     14               102. Second, Epic fails to disclose the odds of receiving the highest tier loot
                                                                     15 in Daily Llamas. Daily Llamas do not in fact contain the highest tier loot with
                                                                     16 regularity. In fact, a player’s odds of obtaining the highest tier loot is low. Like with
                                                                     17 Upgrade Llamas, Epic’s failure to disclose the odds of receiving the touted items in
                                                                     18 Daily Llamas constitutes an actionable omission.
                                                                     19               4.    Epic is Aware its Llamas Are Deceptive Because Numerous
                                                                                            Consumers Have Voiced Complaints
                                                                     20
                                                                     21               103. Epic is aware or should be aware that its Llamas are deceptively
                                                                     22 marketed. Indeed, numerous consumers have voiced their complaints online to Epic
                                                                     23 regarding the loot they received in their Llamas:
                                                                     24               [I]t feels like I am gambling to get good gear they’ve made it really
                                                                     25               hard to make this game fun due to this unrewarding llama system . . .
                                                                     26               the regular llamas have a small chance to turn gold. This needs to be
                                                                     27               changed . . . it makes you spend a ton of money for llamas that
                                                                     28
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                                                                      1        you’ve no good way of telling if you’re going to get something good.
                                                                      2        This is almost unacceptable[.]32
                                                                      3
                                                                      4        I feel like I can’t progress anymore unless I drop more money into this
                                                                      5        game.. so far I’ve spent $233 on llamas not a single legendary/mythic
                                                                      6        and my llamas has turned gold 6 times and no legendary I thought it
                                                                      7        was guaranteed?33
                                                                      8
                                                                      9        [T]he llamas are so awful now and the odds of good loot is
                                                                     10        miniscule.34
                                                                     11
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                                                                     12        The issue I have is with the upgrade chance and loot drops from
                                                                     13        llamas . . . Out of the 20 Double loot llamas I got 0 gold, 1 silver, and
                                                                     14        rest normal. This is just a horrid rate[.] . . . I put a lot of time and
                                                                     15        energy into Fortnite. To spend 6k V bucks and get 1 legendary and 2
                                                                     16        epics worth using. To say the least this dulls the excitement of playing
                                                                     17        the game.35
                                                                     18
                                                                     19        Why do my fortnitemares llamas absolutely suck?
                                                                     20
                                                                     21   32
                                                                          https://www.epicgames.com/fortnite/forums/archive/84676-buying-llamas-is-
                                                                     22 basically-gambling (last visited Feb. 27, 2019).
                                                                          33
                                                                     23
                                                                        https://www.reddit.com/r/FORTnITE/comments/6r06mz/i_guess_ive_hit_the_payw
                                                                     24 all/ (last visited Feb. 27, 2019).
                                                                          34
                                                                     25
                                                                        https://www.reddit.com/r/FORTnITE/comments/7z3xni/llamas_should_be_less_exp
                                                                     26 ensive/(last visited Feb. 27, 2019).
                                                                        35
                                                                     27    https://www.epicgames.com/fortnite/forums/early-access/feedback/117986-loot-
                                                                        llama-concerns(last visited Feb. 27, 2019).
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                                                                      1        I have opened 12 of them total today and only got 2 legendaries.36
                                                                      2
                                                                      3        Hi, i stopped playing Fortnite cuz “Llama loot system”, bec[a]use you
                                                                      4        cant craft literally anything and if you want some legendary you must
                                                                      5        buy Llamas... but if you are unlucky you will get some useless rares
                                                                      6        and thats all. it very frustrating for me and my friends.37
                                                                      7
                                                                      8        [Y]ou get the 1000-1500 llama in-between duplicates and rolls. You
                                                                      9        could go 20 times and not get a single upgrade or good item.38
                                                                     10
                                                                     11        I opened 27 lamas yesterday and got 1 silver lama . I wont be
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                                                                     12        spending any more money . All i want is the legendary Scar Or any
                                                                     13        good Assault rife... i wish they would just sell it :)39
                                                                     14
                                                                     15        So Loot Llama’s...... I’m not sure about all of you but I don’t like
                                                                     16        being taken advantage of and that’s what the DEV’s are doing. Loot
                                                                     17        Llama’s use to give 10 things and always gave 2 epics if not a
                                                                     18        legendary and fire cracker also gave 2 epic or a single or 2 legendary.
                                                                     19        I just got done opening 2 fire cracker both[] gave me just 1 epic. I then
                                                                     20        opened a daily Llama and it gave me 5 items no epic or legendary. I
                                                                     21
                                                                     22   36
                                                                           https://www.reddit.com/r/FORTnITE/comments/9rnxvd/why_do_my_fortnitemare
                                                                     23 s_llamas_absolutley_suck/(last visited Feb. 27, 2019).
                                                                        37
                                                                           https://www.epicgames.com/fortnite/forums/archive/74444-llamas-loot-system-
                                                                     24 sucks(last visited Feb. 27, 2019).
                                                                        38
                                                                     25
                                                                        https://www.reddit.com/r/FORTnITE/comments/7z3xni/llamas_should_be_less_exp
                                                                     26 ensive/(last visited Feb. 27, 2019).
                                                                        39
                                                                     27    https://www.epicgames.com/fortnite/forums/early-access/feedback/117986-loot-
                                                                        llama-concerns(last visited Feb. 27, 2019).
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                                                                      1        think its really hot garbage for them to do this kind of stuff to us. All
                                                                      2        this is a ploy to get more money out of us to LINE their(sic)
                                                                      3        POCKETS.40
                                                                      4
                                                                      5        I got 1 mythic that I didn’t need out of 3 llamas, so thanks epic for
                                                                      6        pocketing my $30 for nothing.41
                                                                      7
                                                                      8        I absolutely hate this kind of pay to play model. You sink an
                                                                      9        additional 30 bucks into the game for liamas(sic) you should walk
                                                                     10        away with some nice stuff. But instead I walked away feeling ripped
                                                                     11        off, like it was a waste.]42
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                                                                     12
                                                                     13        104. The reality is while players expect to receive top-tier loot, they don’t
                                                                     14 get it. This causes players, especially minors, to continue to spend money seeking
                                                                     15 that next gold Llama or mythic item when in reality the odds are undisclosed and
                                                                     16 heavily weighed against them.
                                                                     17                              RULE 9(b) ALLEGATIONS
                                                                     18        105. Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n
                                                                     19 alleging fraud or mistake, a party must state with particularity the circumstances
                                                                     20 constituting fraud or mistake. Fed. R. Civ. P. 9(b). To the extent necessary, as
                                                                     21 detailed in the paragraphs above and below, Plaintiff has satisfied the requirements
                                                                     22 of Rule 9(b) by establishing the following elements with sufficient particularity:
                                                                     23
                                                                          40
                                                                     24    https://www.epicgames.com/fortnite/forums/early-access/feedback/170325-dev-s-
                                                                        have-really-really-lost-thier-minds (last visited Feb. 27, 2019).
                                                                     25 41
                                                                           https://www.reddit.com/r/FORTnITE/comments/a36jo4/super_people_llama_is_h
                                                                     26 ere_should_i_get_it/(last visited Feb. 27, 2019).
                                                                        42
                                                                     27 https://www.reddit.com/r/FORTnITE/comments/6qxb35/llamas_the_gamblers_fall
                                                                        acy_mythic_heroes_and_you/(last visited Feb. 27, 2019).
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                                                                      1         106. WHO: Defendant Epic Games, Inc. made material misrepresentations
                                                                      2 and/or omissions of fact in selling “Upgrade Llamas” and “Daily Llamas” in
                                                                      3 Fortnite Save the World.
                                                                      4         107. WHAT: Defendant made material misrepresentations and/or omissions
                                                                      5 of fact that players would receive high-tier loot in their “Upgrade Llamas” and
                                                                      6 “Daily Llamas” when in reality the odds of getting that loot was very low.
                                                                      7 Defendant’s misrepresentations and/or omissions were material because a
                                                                      8 reasonable player would not have purchased “Upgrade Llamas” and/or “Daily
                                                                      9 Llamas” if they knew that their odds of receiving high-tier loot were so low.
                                                                     10         108. WHEN: Defendant made material misrepresentations and/or omissions
                                                                     11 detailed herein continuously throughout the Class Period.
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                                                                     12         109. WHERE: Defendant’s material misrepresentations and/or omissions
                                                                     13 were made in its game, Fortnite Save the World.
                                                                     14         110. HOW: Defendant made written misrepresentations and/or failed to
                                                                     15 disclose material facts regarding players’ odds of receiving high-tier loot in its
                                                                     16 Llamas.
                                                                     17         111. WHY: Defendant engaged in the material misrepresentations and/or
                                                                     18 omissions detailed herein for the express purpose of inducing Plaintiff and other
                                                                     19 reasonable players to purchase and/or pay for “Upgrade Llamas” and “Daily
                                                                     20 Llamas.” Defendant profited by selling “Upgrade Llamas” and “Daily Llamas” to
                                                                     21 thousands of consumers.
                                                                     22                           CLASS ACTION ALLEGATIONS
                                                                     23         112. Plaintiff brings this action individually and as representatives of all
                                                                     24 those similarly situated, on behalf of the below-defined Class:
                                                                     25                All persons in California who, within the applicable statute of
                                                                     26                limitations, purchased a Llama with V-Bucks that they bought
                                                                     27                with money in Fortnite Save the World.
                                                                     28             113. Excluded from the Class are Defendant and its affiliates, parents,
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                                                                      1 subsidiaries, employees, officers, agents, and directors. Also excluded are any
                                                                      2 judicial officers presiding over this matter and the members of their immediate
                                                                      3 families and judicial staffs.
                                                                      4               114. This case is appropriate for class treatment because Plaintiff can prove
                                                                      5 the elements of his claims on a class-wide basis using the same evidence as would
                                                                      6 be used to prove those elements in individual actions alleging the same claims.
                                                                      7               115. Numerosity: The members of the Class are so numerous that joinder of
                                                                      8 all members would be unfeasible and not practicable. The membership of the Class
                                                                      9 is unknown to Plaintiff at this time; however, it is estimated that it numbers in the
                                                                     10 thousands. The identity of such membership is readily ascertainable via inspection
                                                                     11 of Defendant’s books and records or other approved methods. Similarly, Class
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                                                                     12 members may be notified of the pendency of this action by mail, email, internet
                                                                     13 postings, and/or publication.
                                                                     14               116. Common Questions of Law or Fact: There are common questions of
                                                                     15 law and fact as to Plaintiff and all other similarly situated persons, which
                                                                     16 predominate over questions affecting only individual Class members, including,
                                                                     17 without limitation:
                                                                     18                     a.    Whether Epic disclosed the odds of winning loot in its Llamas in
                                                                     19 Fortnite Save the World;
                                                                     20                     b.    Whether Epic’s misrepresentations and omissions are false,
                                                                     21 misleading, deceptive, or likely to deceive reasonable consumers;
                                                                     22                     c.    Whether Epic’s failure to disclose the odds of winning loot in its
                                                                     23 Llamas constituted a material omission likely to deceive;
                                                                     24                     d.    Whether Plaintiff and the Class members were damaged by
                                                                     25 Epic’s conduct;
                                                                     26                     e.    Whether Epic’s actions or inactions violated the consumer
                                                                     27 protection statutes invoked herein; and
                                                                     28                     f.    Whether Plaintiff is entitled to a preliminary and permanent
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                                                                      1 injunction enjoining Defendant’s conduct.
                                                                      2         117. Predominance of Common Questions: Common questions of law and
                                                                      3 fact predominate over questions that affect only individual members of the Class.
                                                                      4 The common questions of law set forth above are numerous and substantial and
                                                                      5 stem from Epic’s practices applicable to each individual Class member. As such,
                                                                      6 these common questions predominate over individual questions concerning each
                                                                      7 individual Class member’s showing as to his or her eligibility for recovery or as to
                                                                      8 the amount of his or her damages.
                                                                      9         118. Typicality: Plaintiff’s claims are typical of the claims of the other
                                                                     10 members of the Class because, among other things, Plaintiff and all Class members
                                                                     11 were comparably injured through Epic’s misconduct described above. As alleged
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                                                                     12 herein, Plaintiff, like the members of the Class, was deprived of monies that
                                                                     13 rightfully belonged to him by Epic. Further, there are no defenses available to Epic
                                                                     14 that are unique to Plaintiff.
                                                                     15         119. Adequacy of Representation: Plaintiff is an adequate class
                                                                     16 representative because his interests do not conflict with the interests of other Class
                                                                     17 members he seeks to represent. Moreover, Plaintiff’s attorneys are ready, willing
                                                                     18 and able to fully and adequately represent Plaintiff and the members of the Class.
                                                                     19 Plaintiff’s attorneys are experienced in complex class action litigation, and they will
                                                                     20 prosecute this action vigorously. Plaintiff and his counsel, who are experienced
                                                                     21 class action lawyers, will fairly and adequately protect the Class members’ interests.
                                                                     22         120. Superiority: The nature of this action and the laws available to
                                                                     23 Plaintiff and members of the Class make the class action format a particularly
                                                                     24 efficient and appropriate procedure to redress the violations alleged herein. If each
                                                                     25 Class member were required to file an individual lawsuit, Epic would necessarily
                                                                     26 gain an unconscionable advantage since it would be able to exploit and overwhelm
                                                                     27 the limited resources of each individual plaintiff with its vastly superior financial
                                                                     28 and legal resources. Moreover, the prosecution of separate actions by the individual
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                                                                      1 Class members, even if possible, would create a substantial risk of inconsistent or
                                                                      2 varying verdicts or adjudications with respect to the individual Class members
                                                                      3 against Epic, and which would establish potentially incompatible standards of
                                                                      4 conduct for Epic and/or legal determinations with respect to individual Class
                                                                      5 members which would, as a practical matter, be dispositive of the interest of the
                                                                      6 other Class members not parties to adjudications or which would substantially
                                                                      7 impair or impede the ability of the Class members to protect their interests. Further,
                                                                      8 the claims of the individual members of the Class are not sufficiently large to
                                                                      9 warrant vigorous individual prosecution considering all of the concomitant costs and
                                                                     10 expenses attending thereto.
                                                                     11                                      CLAIMS FOR RELIEF
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                                                                     12
                                                                                                         FIRST CLAIM FOR RELIEF
                                                                     13                         Violation of the Consumer Legal Remedies Act
                                                                                                    [California Civil Code §§ 1750, et seq.]
                                                                     14
                                                                                                      (On Behalf of Plaintiff and the Class)
                                                                     15
                                                                     16               121. Plaintiff incorporates by reference all of the above allegations as if fully
                                                                     17 set forth herein.
                                                                     18               122. The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.
                                                                     19 (“CLRA”), was designed and enacted to protect consumers from unfair and
                                                                     20 deceptive business practices. To this end, the CLRA sets forth a list of unfair and
                                                                     21 deceptive acts and practices in Civil Code § 1770.
                                                                     22               123. Plaintiff and each member of the Class are “consumers” within the
                                                                     23 meaning of Cal. Civ. Code § 1761(d).
                                                                     24               124. Plaintiff and the Class members engaged in “transactions” with Epic
                                                                     25 within the meaning of Cal. Civ. Code § 1761(e) when they purchased Llamas.
                                                                     26               125. Plaintiff has standing to pursue these claims because he has suffered
                                                                     27 injury in fact and a loss of money and/or property as a result of the wrongful
                                                                     28 conduct alleged herein.
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                                                                      1        126. Defendant violated and continues to violate California Civil Code §§
                                                                      2 1770(a)(5) and (a)(9) by misleading consumers about the odds of receiving loot in
                                                                      3 its Llamas and failing to disclose the odds of receiving loot in its Llamas.
                                                                      4        127. Defendant continues to violate the CLRA and continues to injure the
                                                                      5 public by misleading consumers about the odds of winning top-tier loot in its
                                                                      6 Llamas. Accordingly, Plaintiff seeks injunctive relief to prevent Defendant from
                                                                      7 continuing to engage in these deceptive and illegal practices. Otherwise, Plaintiff
                                                                      8 and the Class and members may be irreparably harmed and/or denied effective and
                                                                      9 complete remedy if such an order is not granted.
                                                                     10        128. Defendant had a duty not to mislead consumers about the odds of
                                                                     11 winning loot in its Llamas. The odds of winning loot in its Llamas were material in
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                                                                     12 that a reasonable person would have considered it important in deciding whether to
                                                                     13 purchase Llamas.
                                                                     14        129. Defendant’s concealment, omissions, misrepresentations, and deceptive
                                                                     15 practices, in violation of the CLRA, were designed to induce and did induce
                                                                     16 Plaintiff and Class members to purchase Llamas.
                                                                     17        130. On information and belief, Defendant intentionally, willfully, and
                                                                     18 consciously acted to misrepresent and omit material information regarding its
                                                                     19 Llamas to Plaintiff and the Class, in order to deceive and illicit payment from them
                                                                     20 for its Llamas. Defendant did so knowing that a significant number of the Class
                                                                     21 were minors.
                                                                     22        131. Defendant’s acts, practices, representations, omissions, and courses of
                                                                     23 conduct with respect to the “Upgrade Llamas” violated the CLRA in that, among
                                                                     24 other things: it violated § 1770(a)(5) because it misrepresented that its “Upgrade
                                                                     25 Llamas” had a “high chance to upgrade” and contain better loot when in fact the
                                                                     26 odds were low; and violated § 1770(a)(9) because it advertised “Upgrade Llamas”
                                                                     27 as having a “high chance to upgrade” and contain better loot, when in reality the
                                                                     28 chances of receiving better loot were low.
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                                                                      1               132. Defendant’s acts, practices, representations, omissions, and courses of
                                                                      2 conduct with respect to the “Upgrade Llamas” and “Daily Llamas” violate the
                                                                      3 CLRA in that, among other things: it violated and continues to violate § 1770(a)(5)
                                                                      4 because Defendant knowingly failed to disclose and continues to fail to disclose the
                                                                      5 odds of winning loot in its Llamas, which is information that is solely in
                                                                      6 Defendant’s possession and which is material to consumers purchasing decisions;
                                                                      7 violated and continues to violate § 1770(a)(9) because Defendant knowingly
                                                                      8 advertised and advertises Llamas as way to obtain loot but failed to disclose and
                                                                      9 continues to fail to disclose the odds of winning top-tier loot in its Llamas, which is
                                                                     10 information that is solely in Defendant’s possession and which is material to
                                                                     11 consumers purchasing decisions.
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                                                                     12               133. Defendant’s acts and practices, undertaken in transactions intended to
                                                                     13 result and which did result in consumers paying for Llamas violate Civil Code §
                                                                     14 1770 and caused harm to Plaintiff and Class members.
                                                                     15               134. In accordance with Cal. Civ. Code § 1780(a), Plaintiff and the Class
                                                                     16 members seek injunctive and equitable relief for violations of the CLRA, including
                                                                     17 restitution and disgorgement.
                                                                     18               135. Plaintiff reserves the right to amend the Complaint to seek damages
                                                                     19 within thirty (30) days of Plaintiff’s notice to Defendant under Cal. Civil Code §
                                                                     20 1782.
                                                                     21               136. Plaintiff’s affidavit stating facts showing that venue in this Court is
                                                                     22 proper pursuant to Cal. Civ. Code § 1780(d) is attached hereto as Exhibit A.
                                                                     23 / / /
                                                                     24 / / /
                                                                     25 / / /
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                                                                      1                                 SECOND CLAIM FOR RELIEF
                                                                                                             Unjust Enrichment
                                                                      2
                                                                                                      (On Behalf of Plaintiff and the Class)
                                                                      3
                                                                      4               137. Plaintiff incorporates the foregoing paragraphs as though fully set forth
                                                                      5 herein.
                                                                      6               138. By means of the wrongful conduct alleged herein, Defendant
                                                                      7 knowingly misrepresented the odds of receiving loot in its Llamas in a way that was
                                                                      8 unfair, unconscionable, and oppressive.
                                                                      9               139. Plaintiff and the members of the Class conferred an economic benefit
                                                                     10 upon Defendant by paying for V-Bucks which they in turn used to purchase Llamas,
                                                                     11 and Defendant had an appreciation or knowledge of the benefit conferred by
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                                                                     12 Plaintiff and the members of the Class.
                                                                     13               140. Defendant accepted and retained the economic benefit conferred by
                                                                     14 Plaintiff and members of the Class under circumstances as to make it inequitable for
                                                                     15 Defendant to retain the benefit without payment of its value.
                                                                     16               141. The financial benefits obtained by Defendant rightfully belong to
                                                                     17 Plaintiff and members of the Class. Defendant should be compelled to disgorge in a
                                                                     18 common fund for the benefit of Plaintiff and members of the Class all wrongful or
                                                                     19 inequitable proceeds of their conduct. A constructive trust should be imposed upon
                                                                     20 all wrongful or inequitable sums received by Defendant traceable to Plaintiff and the
                                                                     21 members of the Class.
                                                                     22                                 THIRD CLAIM FOR RELIEF
                                                                                               Violation of California’s False Advertising Law
                                                                     23
                                                                                                    (Bus. & Prof. Code §§ 17500, et seq.)
                                                                     24                              (On Behalf of Plaintiff and the Class)
                                                                     25
                                                                                      142. Plaintiff incorporates the foregoing paragraphs as though fully set forth
                                                                     26
                                                                          herein.
                                                                     27
                                                                                      143. California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §
                                                                     28
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                                                                      1 17500, states that “[i]t is unlawful for any. . . corporation . . . with intent . . . to
                                                                      2 dispose of . . . personal property . . . to induce the public to enter into any obligation
                                                                      3 relating thereto, to make or disseminate or cause to be made or disseminated . . .
                                                                      4 from this state before the public in any state, in any newspaper or other publication,
                                                                      5 or any advertising device, or by public outcry or proclamation, or in any other
                                                                      6 manner or means whatever, including over the Internet, any statement...which is
                                                                      7 untrue or misleading and which is known, or which by the exercise of reasonable
                                                                      8 care should be known, to be untrue or misleading . . ..”
                                                                      9               144. Defendant’s material misrepresentations and omissions alleged herein
                                                                     10 violate Bus. & Prof. Code § 17500.
                                                                     11               145. Defendant knew or should have known that its misrepresentations and
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                                                                     12 omissions were false, deceptive, and misleading.
                                                                     13               146. Pursuant to Business & Professions Code §§ 17203 and 17500,
                                                                     14 Plaintiff and the members of the Class seek an order of this Court enjoining
                                                                     15 Defendant from continuing to engage, use, or employ their practice of failing to
                                                                     16 disclose the odds of receiving loot in their Llamas.
                                                                     17               147. Further, Plaintiff and the members of the Class request an order
                                                                     18 awarding Plaintiff restitution of the money wrongfully acquired by Defendant by
                                                                     19 means of said misrepresentations and omissions.
                                                                     20               148. Additionally, Plaintiff and the Class members seek an order requiring
                                                                     21 Defendant to pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.
                                                                     22                                 FOURTH CLAIM FOR RELIEF
                                                                                              Violation of California’s Unfair Competition Law
                                                                     23
                                                                                                   [Cal. Bus. & Prof. Code § 17200, et seq.]
                                                                     24                         (On Behalf of Plaintiff and the Llama Class)
                                                                     25
                                                                                      149. Plaintiff incorporates by reference all of the above allegations as if fully
                                                                     26
                                                                          set forth herein.
                                                                     27
                                                                                      150. Plaintiff and the members of the Class have standing to pursue a cause
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                                                                      1 of action against Defendant for unfair and/or unlawful business acts or practices
                                                                      2 because they have suffered an injury-in-fact and lost money due to Defendant’s
                                                                      3 actions and/or omissions as set forth herein.
                                                                      4         151. Defendant’s conduct is unlawful under Bus. & Prof. Code § 17200 et
                                                                      5 seq. (“UCL”) because it is in violation of the CLRA and FAL, as discussed above.
                                                                      6         152. Defendant’s conduct described herein is “unfair” under Bus. & Prof.
                                                                      7 Code § 17200 because it violates public policy and is immoral, unethical,
                                                                      8 oppressive, unscrupulous, and/or substantially injurious to consumers, and any
                                                                      9 utility of such practices is outweighed by the harm caused to consumers, including
                                                                     10 to Plaintiff, the Class, and the public.
                                                                     11         153. In addition, Defendant’s conduct constitutes a fraudulent business
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                                                                     12 practice within the meaning of Bus. & Prof. Code § 17200, et seq., in that Defendant
                                                                     13 intentionally and knowingly misrepresented the odds of winning loot in its Llamas,
                                                                     14 through both their affirmative misrepresentations and material omissions. Such
                                                                     15 representations and omissions misled Plaintiff and Class members and are likely to
                                                                     16 mislead the public. Had Plaintiff known the odds of winning the loot he desired in
                                                                     17 the Llamas he purchased, he would not have purchased them.
                                                                     18         154. Defendant knew or should have known that their representations
                                                                     19 regarding the Llamas were false, deceptive, and misleading.
                                                                     20         155. Defendant’s wrongful conduct is ongoing and part of a pattern or
                                                                     21 generalized course of conduct repeated on thousands of occasions yearly.
                                                                     22         156. Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an injunction
                                                                     23 enjoining Defendant from continuing to engage in the unfair competition described
                                                                     24 above, or any other act prohibited by law.
                                                                     25         157. Plaintiff also seeks rescission and an order requiring Defendant to make
                                                                     26 full restitution and to disgorge their ill-gotten gains wrongfully obtained from
                                                                     27 members of the Class as permitted by Bus. & Prof. Code § 17203.
                                                                     28             158. Additionally, Plaintiff and the Class members seek an order requiring
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                                                                      1 Defendant to pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.
                                                                      2                                         PRAYER FOR RELIEF
                                                                      3               WHEREFORE, Plaintiff prays that the Court enter judgment on its behalf and
                                                                      4 on behalf of the Class herein, and seeks an Order from the Court:
                                                                      5                     a)     certifying the proposed Class defined herein;
                                                                      6                     b)     appointing Plaintiff as Class Representative;
                                                                      7                     c)     appointing counsel for Plaintiff as Class Counsel;
                                                                      8                     d)     declaring Defendant’s conduct to be unlawful;
                                                                      9                     e)     permanently enjoining Defendant from engaging in the
                                                                     10                            unlawful conduct described above;
                                                                     11                     f)     requiring Defendant to restore Plaintiff and others any monies
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                                                                     12                            that were acquired by means of their unlawful conduct;
                                                                     13                     g)     awarding Plaintiff compensatory, direct, and consequential
                                                                     14                            damages, including prejudgment interest, in an amount to be
                                                                     15                            determined a trial;
                                                                     16                     h)     awarding punitive damages and/or treble damages as the
                                                                     17                            Court deems appropriate;
                                                                     18                     i)     requiring Defendant to pay Plaintiff’s attorneys’ fees and
                                                                     19                            costs; and
                                                                     20                     j)     granting such other and further relief as this Court deem just
                                                                     21                            and proper.
                                                                     22                                  DEMAND FOR JURY TRIAL
                                                                     23               Plaintiff hereby requests a trial by jury for all matters so triable in this action.
                                                                     24
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                                                                      1 DATED: February 28, 2019          PEARSON, SIMON & WARSHAW, LLP
                                                                      2
                                                                      3                                   By: /s/ Daniel L. Warshaw
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                                                                      4
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